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          EXHIBIT 1
        EXHIBIT  213
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From:                Ziegler Joseph A
Sent:                Thursday, May 18, 2023 9:58 AM
To:                  O'Donnell Douglas W; Werfel Daniel I; Lee James C; Ficco Guy A; Batdorf Michael T; Carter Kareem A;
                     Watson Lola B
Subject:             Sportsman Investigation-Removal of Case Agent

Importance:          High


My Respective IRS Leadership –

First off, I apologize for breaking the managerial chain of command but the reason I am doing this is because I don’t think
my concerns and/ or words are being relayed to your respective offices. I am requesting that you consider some of the
issues at hand.

As I am sure you were aware, I was removed this week from a highly sensitive case out of the Delaware USAO after
nearly 5 years of work. I was not afforded the opportunity of a phone call directly from my SAC or ASAC, even though
this had been my investigation since the start.

I can’t continue to explain how disappointed I am by the actions taken on behalf of our agency. I want to echo that I love
my job, I love my agency and I am extremely appreciative of the job and position that I have had over the last 13 years.

There is a human impact to the decisions being made that no one in the government seems to care about or understand. I
had opened this investigation in 2018, have spent thousands of hours on the case, worked to complete 95% of the
investigation, have sacrificed sleep / vacations / gray hairs etc., my husband and I (identifying me as the case agent) were
publicly outed and ridiculed on social media due to our sexual orientation, and to ultimately be removed for always trying
to do the right thing, is unacceptable in my opinion. Again, my leadership above my direct manager -who was also
removed - didn’t even give me the common courtesy of a phone call, did not afford me the opportunity of understanding
why this decision was made, and did not afford me an opportunity to explain my case. If this is how our leadership
expects our leaders to lead, without considering the human component, that is just unacceptable and you should be
ashamed of yourselves. I am continually asking myself, is this the kind of culture we want within the IRS and that I want
to be a part of.

For the last couple years, my SSA and I have tried to gain the attention of our senior leadership about certain issues
prevalent regarding the investigation. I have asked for countless of meetings with our chief and deputy chief, often to be
left out on an island and not heard from. The lack of IRS-CI senior leadership involvement in this investigation is deeply
troubling and unacceptable. Rather than recognizing the need to ensure close engagement and full support of the
investigatory team in this extraordinarily sensitive case, the response too often had been that we were isolated (even when
I said on multiple occasions that I wasn’t being heard and that I thought I wasn’t able to perform my job adequately
because of the actions of the USAO and DOJ, my concerns were ignored by senior leadership). The ultimate decision to
remove the investigatory team from Delaware, without actually talking with that investigatory team, in my opinion was a
decision made not to side with the investigators but to side with the US Attorney’s office and Department of Justice who
we have been saying for some time has been acting inappropriately.

I appreciate your time and courtesy in reviewing this email. Again, I can only reiterate my love for my work at CI and a
great appreciation for my colleagues – and a strong desire for CI to learn from and be strengthened by my difficult
experience. I never thought in my career that I would have to write an email like this, but here I am. Thank you again for
your consideration with me.




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